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                 18
                                                    UNITED STATES DISTRICT COURT
                 19
                                     NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
                 20
                        APPLE INC., a California corporation,         CASE NO. 12-CV-00630-LHK (PSG)
                 21
                                      Plaintiff,
                 22                                                   SAMSUNG'S NOTICE OF MOTION AND
                               vs.                                    MOTION FOR LEAVE TO AMEND AND
                 23                                                   SUPPLEMENT ITS INFRINGEMENT
                    SAMSUNG ELECTRONICS CO., LTD., a                  CONTENTIONS
                 24 Korean corporation; SAMSUNG
                    ELECTRONICS AMERICA, INC., a New                  Date: June 4, 2013
                 25 York corporation; SAMSUNG                         Time: 10:00 a.m.
                    TELECOMMUNICATIONS AMERICA,                       Place: Courtroom 5, 4th Floor
                 26 LLC, a Delaware limited liability company,        Judge: Hon. Paul S. Grewal

                 27                   Defendants.                     [FILED UNDER SEAL]
                 28

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                   1                                NOTICE OF MOTION AND MOTION
                   2            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                   3            PLEASE TAKE NOTICE that on Tuesday, June 4, 2013 at 10:00 a.m., or as soon
                   4 thereafter as the matter may be heard by the Honorable Paul S. Grewal in Courtroom 5, United

                   5 States District Court for the Northern District of California, Robert F. Peckham Federal Building,

                   6 280 South 1st Street, San Jose, CA 95113, Samsung Electronics Co., Ltd., Samsung Electronics

                   7 America, Inc., and Samsung Telecommunications America, LLC (collectively “Samsung”) shall

                   8 and hereby do move the Court for an order granting Samsung leave to amend its infringement

                   9 contentions pursuant to Patent L.R. 3-6. This motion is based on this notice of motion and

                 10 supporting memorandum of points and authorities; the supporting declaration of Todd Briggs (the

                 11 “Briggs Decl.”); and such other written or oral argument as may be presented at or before the time

                 12 this motion is deemed submitted by the Court.

                 13                                         RELIEF REQUESTED
                 14             Samsung seeks an order granting it leave to amend its infringement contentions pursuant to

                 15 Patent L.R. 3-6.

                 16

                 17 DATED: April 30, 2013                        QUINN EMANUEL URQUHART &
                                                                 SULLIVAN, LLP
                 18

                 19

                 20      By                                             /s/ Victoria Maroulis
                         Victoria                                                F. Maroulis
                 21                                                    Attorney for SAMSUNG ELECTRONICS CO.,
                                                                       LTD., SAMSUNG ELECTRONICS AMERICA,
                 22                                                    INC., and SAMSUNG
                 23                                                    TELECOMMUNICATIONS AMERICA, LLC

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                   1                       MEMORANDUM OF POINTS AND AUTHORITIES
                   2 I.        INTRODUCTION
                   3           Samsung respectfully requests leave to amend its infringement contentions in response to
                   4 several recent developments in this litigation. First, Samsung seeks to amend its infringement

                   5 contentions for U.S. Patent Nos. 5,579,239 (“the ’239 Patent”) and 7,577,757 (“the ’757 Patent”)

                   6 in response to the Court’s April 11, 2013 claim construction order where the Court adopted

                   7 constructions that differed from Samsung’s proposed constructions. Second, Samsung seeks to

                   8 amend its infringement contentions for the ’757 Patent and U.S. Patent Nos. 6,226,449 (“the ’449

                   9 Patent”), 7,756,087 (“the ’087 Patent”), and 7,551,596 (“the ’596 Patent”) based on the recent

                 10 production of confidential documents by Apple and third parties. Third, Samsung has included

                 11 doctrine of equivalents arguments for each of Samsung’s asserted patents in its amended

                 12 contentions. These amendments are in response to Apple’s failure to meaningfully disclose its

                 13 noninfringement arguments in response to Samsung’s interrogatories. Fourth, Samsung’s

                 14 amended contentions add the Galaxy S III and Galaxy Note II to the list of products that practice

                 15 or reflect certain claims in Samsung’s patents in response to Apple’s recent addition of these same

                 16 products to this action. Finally, Samsung has refined its indirect infringement theory for claims 1

                 17 and 7 of the ’239 Patent in light of recent developments in Federal Circuit case law. Good cause

                 18 exists under Patent L.R. 3-6 for all of Samsung’s proposed amendments.

                 19 II.        FACTS
                 20            The Parties’ Initial Infringement Contentions. On May 2, 2012, the Court set deadlines

                 21 for service of Patent Local Rule 3-1 infringement contentions, ordering both parties to serve their

                 22 contentions by June 15, 2012. Dkt. 160. The Court set the close of fact discovery for July 8,

                 23 2013, with expert discovery to take place after that. Id. The parties served their initial

                 24 infringement contentions on the Court-ordered deadline.

                 25            First Motion to Amend Infringement Contentions. On October 1, 2012, Samsung filed a

                 26 motion to amend its infringement contentions to include the newly released iPhone 5. Dkt. 267.

                 27 Four days later, on October 5, 2012, Apple filed its own motion to amend infringement

                 28 contentions to incorporate many changes, including the addition of the Galaxy Note 10.1, Android

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                   1 JellyBean operating system, and U.S. versions of the Galaxy S III; the correction of certain errors;

                   2 and the service of additional charts. Dkt. 269. On November 15, 2012, the Court granted the

                   3 parties’ motions, though it expressly limited inclusion of the Jelly Bean operating system to the

                   4 Galaxy Nexus. Dkt. 302. The Court also indicated it would be open to additional amendments

                   5 by Samsung to include new products. Id.

                   6               Second Motion to Amend Infringement Contentions. On November 21, 2012, Samsung

                   7 filed its second motion to amend infringement contentions, seeking leave to include the iPad 4,

                   8 iPad mini, and iPod Touch (5th generation), and to make additional corrections to its infringement

                   9 contentions. Dkt. 304. Two days later, on November 23, 2012, Apple filed its second motion to

                 10 amend infringement contentions, seeking leave to add the Galaxy S III running the Android Jelly

                 11 Bean operating system, Galaxy Note II, Galaxy Tab 8.9 WiFi, Galaxy Tab 2 10.1, Rugby Pro, and

                 12 Galaxy S III Mini. Dkt. 306. After negotiations, the parties entered into a stipulation on January

                 13 15, 2013, whereby Apple withdrew its motion to add the Galaxy S III Mini without prejudice, and

                 14 the parties allowed amendments to add the remaining products. The Court entered the stipulation

                 15 the following day, January 16, 2013. Dkt. 348.

                 16                The Court’s Claim Construction Order. On April 11, 2013, the Court issued its claim

                 17 construction order regarding various claim terms (Dkt. 447), including, “zone specific storage and

                 18 interface device” for the ’757 Patent, and both “means for capturing, digitizing, and compressing

                 19 at least one composite signal” and “means for transmitting said composite signal” for the ’239

                 20 Patent. For each of these three terms, the Court adopted a construction that differed from

                 21 Samsung’s proposed constructions.

                 22                The Instant Motion. In this motion, Samsung seeks to amend its infringement contentions

                 23 in response to recent developments in the case, as shown in Samsung’s Third Amended

                 24 Infringement Contentions (Ex. 4).1 On April 26, 2013, Samsung served these proposed

                 25 infringement contentions on Apple, and sought to enter into an agreement with Apple regarding

                 26
                               1
                 27            All references to Ex. __ refer to exhibits attached to the Declaration of Todd M. Briggs in
                        Support of Samsung’s Motion for Leave to Amend and Supplement Its Infringement Contentions.
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                   1 amendments to the infringement contentions. Ex. 3. Although Samsung requested a response by

                   2 April 29, 2013, Apple provided no response before the filing of this motion.

                   3 III.      LEGAL STANDARD
                   4           Patent Local Rule 3-6 allows the parties to amend their infringement contentions “by order
                   5 of the Court upon a timely showing of good cause.” Pat. L.R. 3-6. The rule provides a non-

                   6 exhaustive list of circumstances which may support a finding of good cause: “(a) A claim

                   7 construction by the Court different from that proposed by the party seeking amendment; (b)

                   8 Recent discovery of material, prior art despite earlier diligent search; and (c) Recent discovery of

                   9 nonpublic information about the Accused Instrumentality which was not discovered, despite

                 10 diligent efforts, before the service of the Infringement Contentions.” Id.

                 11            “Good cause” requires a showing that “the party seeking leave to amend acted with
                 12 diligence promptly when new evidence is revealed.” O2 Micro Int’l, Ltd. v. Monolithic Power

                 13 Systems, Inc., 467 F.3d 1355, 1363, 1366 (Fed. Cir. 2006). Once the moving party shows it was

                 14 diligent in amending its contentions, the court considers whether the non-moving party “would

                 15 suffer prejudice if the motion to amend were granted.” Acer, Inc. v. Tech. Prop. Ltd., 2010 WL

                 16 3618687 (N.D. Cal. 2010). “The rules thus seek to balance the right to develop new information

                 17 in discovery with the need for certainty as to the legal theories.” Golden Hour Data Systems, Inc.

                 18 v. Health Services Integration, Inc., 2008 WL 2622794 (N.D. Cal. 2008), citing O2 Micro, 467

                 19 F.3d at 1365-1366.

                 20 IV.        ARGUMENT
                 21            A.     Samsung Should Be Permitted To Amend Its Infringement Contentions For
                                      the ’757 and ’239 Patents Based on the Court’s Claim Construction Order
                 22
                               Samsung seeks leave to amend its infringement contentions in response to the Court’s
                 23
                        April 11 claim construction order. Samsung’s amendments fall squarely within the contours of
                 24
                        Patent L. R. 3-6(a), which provides that good cause includes “(a) A claim construction by the
                 25
                        Court different from that proposed by the party seeking amendment.”
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                   1                  1.      ’757 Claim Construction Amendments
                   2           For the ’757 Patent, the parties disputed the construction of the term “zone specific storage
                   3 and interface device.” Samsung proposed that the term meant “a storage and interface device

                   4 associated with a particular viewing and/or listening zone.” Dkt. 447 at 38. The Court did not

                   5 adopt Samsung’s proposed construction and instead construed the term to mean “a storage and

                   6 interface device that resides in an area, such as a room or similar location.” Id. at 45 (emphasis

                   7 added); see also id. at 39 (“The Court concludes that neither party’s construction is completely

                   8 consistent with the ’757 Patent and instead construes “zone specific storage and interface device”

                   9 as “a storage and interface device that resides in an area, such as a room or similar location.”)

                 10            Samsung’s proposed amendments address the Court’s different construction by explaining

                 11 how each of the accused devices “resides in an area,” such as when they are within Apple stores,

                 12 connected to a dock or other apparatus, or residing in a room generally. Additionally, while

                 13 Samsung accused Mac computers of infringing the ’757 Patent in its original infringement

                 14 contentions, Samsung now provides additional evidentiary support for Mac computers (along with

                 15 the iPhone and iPod) to explain in detail how all of Apple’s devices “reside[] in an area” and

                 16 therefore infringe the ’757 Patent. In addition, Samsung adds specific doctrine of equivalents

                 17 arguments for the term “zone-specific storage and interface device,” explaining that a mobile

                 18 device is insubstantially different from a device which “resides in an area” for purposes of the

                 19 ’757 infringement. These doctrine of equivalents arguments follow the reasoning in the Court’s

                 20 order, which explains that the purpose of the patent is not necessarily related to the mobility of the

                 21 zone specific storage and interface device. Dkt. 447 at 43 (“However, the purpose of ‘exclusive

                 22 or reclusive enjoyment’ is not necessarily undermined by the device being mobile.…Moreover, for

                 23 purpose [sic] of multimedia enjoyment, a car is obviously quite similar to a room—it is simply a

                 24 room on wheels.”) These changes fall squarely within the ambit of the Patent Local Rules

                 25 following claim construction.

                 26                   2.      ’239 Claim Construction Amendments
                 27            For the ’239 Patent, the parties disputed the construction of two means plus function terms.

                 28 Samsung seeks to amend its contentions for both of these terms.

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                   1           First, Samsung proposed that “means for capturing, digitizing, and compressing at least

                   2 one composite signal” has a corresponding structure comprising “a video and/or audio capture

                   3 module, and equivalents.” Dkt. 447 at 46. However, the Court determined that the structure

                   4 includes “an audio capture card, and a video card having a video capture module.” Id. at 55

                   5 (emphasis added). In response to the different construction adopted by the Court, Samsung has

                   6 added a doctrine of equivalents argument to allege that to the extent Apple’s products do not

                   7 include “cards,” the components in Apple’s products are insubstantially different from “cards.”

                   8           Second, Samsung proposed that “means for transmitting said composite signal” has a

                   9 corresponding structure comprising “one or more cellular telephone transmitters, radio frequency

                 10 transmitters, telemetric frequency transmitters, and/or standard telephone line transmitters, and

                 11 equivalents.” Id. at 55-56. But the Court found that the structure includes “one or more modems

                 12 connected to one or more cellular telephones, telephone lines, and/or radio transmitters, and

                 13 software performing a software sequence of initializing one or more communication ports on the

                 14 remote unit, obtaining the stored data file, and transmitting the stored data file.” Id. at 63

                 15 (emphasis added). Because the Court’s construction differs from Samsung’s proposed

                 16 construction by requiring “one or more modems” and “software performing a software sequence

                 17 of initializing one or more communication ports on the remote unit, obtaining the stored data file,

                 18 and transmitting the stored data file,” Samsung has amended its contentions to clarify how the

                 19 Apple products infringe under the Court’s structure. Sam sung further contends that if Apple does

                 20 not meet this limitation literally, Apple continues to infringe under the doctrine of equivalents –

                 21 for example, because the accused components are insubstantially different from a “modem” as

                 22 construed by the Court.

                 23            Finally, Samsung also adds doctrine of equivalents arguments for other claim terms.

                 24 During the Markman process, Apple made new assertions that the structure of the limitations at

                 25 issue should be significantly narrowed based on the disclosure in the specification. Samsung

                 26 anticipates that Apple may make the same or similar arguments for other claim terms, and adds

                 27 doctrine of equivalents arguments accordingly.

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                   1           Samsung has been diligent in amending its infringement contentions in response to the

                   2 Court’s claim constructions on the ’757 and ’239 Patents. The Court issued its claim construction

                   3 order on April 11. Apple was served Samsung’s amended infringement contentions only two

                   4 weeks later, on April 26, and Samsung is now seeking to amend its contentions within three weeks

                   5 of the Court’s order. Thus, Samsung has been diligent in seeking the amendments. Cf.

                   6 Vasudevan Software Inc. v. IBM Corp., 2011 WL 940263 at *4 (finding that four month period

                   7 prior to amendment of infringement contentions was sufficiently diligent). Nor is Apple

                   8 prejudiced by the proposed amendments. As described above, the proposed changes are in direct

                   9 response to the Court’s claim construction order on both the ’757 and ’239 Patents, and the

                 10 changes are merely extensions of previously disclosed infringement theories. Accordingly,

                 11 Samsung has good cause for these amendments.

                 12            B.     Samsung Should Be Permitted To Amend Its Infringement Contentions For
                                      The ’757, ’087, ’596, and ’449 Patents Based On Recent Discovery From Apple
                 13                   And Third Parties
                 14            Samsung seeks to amend its infringement contentions in response to recent, non-public

                 15 information produced by Apple and third parties. Samsung has good cause to amend under

                 16 Patent L. R. 3-6(c), which provides that good cause includes “(c) Recent discovery of nonpublic

                 17 information about the Accused Instrumentality which was not discovered, despite diligent efforts,

                 18 before the service of the Infringement Contentions.”

                 19                   1.     ’757 Willful Infringement Amendments
                 20            Based on Patent L.R. 3-6(c), Samsung has good cause to amend its Patent L.R. 3-1(h)

                 21 disclosures to include Apple’s willful infringement of the ’757 Patent. In July 2012, Samsung

                 22 served requests for production on Apple seeking evidence of possible willful infringement by

                 23 Apple. See, e.g., Ex. 5, Samsung’s Third Set of Requests for Production, at No. 146 (“All

                 24 documents relating to any communications with third parties relating to the Samsung patents.”);

                 25 No. 150 (“All communications with or related to ReQuest, Inc.”). Yet Apple failed to produce

                 26 any responsive documents indicating it had pre-complaint knowledge of the ’757 Patent at that

                 27 time.

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                   1               Nearly six months later, on February 7, 2013, Samsung obtained documents produced by

                   2 ReQuest, Inc. indicating

                   3

                   4                                                             Ex. 6, PC001027-28; Ex. 7, PC001044.

                   5 Upon reviewing these documents, Samsung complained to Apple about its failure to produce

                   6 corresponding documents in its possession. Only after that, on March 21, 2012, did Apple finally

                   7 begin to produce a few documents showing

                   8                                       See Ex. 8, APL630DEF-WH0000638565-68. Apple’s production

                   9 still appears to be incomplete,

                 10

                 11                Just one week later, on March 29, 2012, Samsung contacted Apple and requested that it

                 12 stipulate to the amendment of Samsung’s infringement contentions to include a willful

                 13 infringement contention for the ’757 Patent under Patent Local Rule 3-1(h). Ex. 2. Thus,

                 14 Samsung diligently sought leave to amend after it learned of Apple’s willful infringement of the

                 15 ’757 Patent and obtained confirming documentary evidence that was being improperly withheld

                 16 by Apple.

                 17                Furthermore, Apple cannot claim it is prejudiced when it withheld documents

                 18 demonstrating its willful infringement. As prior decisions have recognized, “[The Defendant]

                 19 should not be rewarded for its late production of discovery that even [Defendant] believed was

                 20 responsive to earlier [Patent-Owner’s] discovery requests.” Abaxis, Inc. v. Cepheid, 10-cv-2840-

                 21 LHK at Dkt. 199 (N.D. Cal. July 20, 2012) (Koh, J.); see also Abaxis at Dkt. 204, 2012 WL

                 22 3255601 (N.D. Cal. August 8, 2012) (denying motion for reconsideration).

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                 26       While Samsung was aware
                           Samsung had no detailed information regarding communications between ReQuest and
                 27 Apple before ReQuest’s document production.

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                   1                  2.     ’087, ’596, and ’449 Evidentiary Amendments
                   2           Samsung has good cause to amend its infringement contentions for the ’087 and ’596
                   3 Patents to include evidentiary support that was recently disclosed by Apple and third parties

                   4 Qualcomm, Intel, Alcatel-Lucent, and AT&T. See Patent L.R. 3-6(c). These disclosures were

                   5 not available to Samsung at the time it filed its infringement contentions last year, and all of this

                   6 evidence was only made available recently. Intel source code was produced in January, AT&T

                   7 documents were produced in February, Alcatel-Lucent source code and documents were produced

                   8 in March, and Qualcomm source code was finally produced this month, in April. Each of the

                   9 additional evidentiary support Samsung cites in its amended ’087 and ’596 Patent infringement

                 10 contentions was evidence Samsung derived from these recent disclosures. Samsung amends its

                 11 infringement contentions to add the following three types of information to support its

                 12 contentions: (1) confidential Apple, Intel, and Qualcomm source code, (2) confidential Intel,

                 13 Alcatel-Lucent, and AT&T non-source code documents, and (3) additional cites to the 3GPP

                 14 standards specifications that Samsung became aware of after reviewing the disclosures from Intel,

                 15 Alcatel-Lucent, and AT&T. Samsung’s amendment is exactly the type of amendment envisioned

                 16 by Patent L.R. 3-6(c).

                 17            Similarly, Samsung has been diligent in amending its infringement contentions for the ’449
                 18 Patent based on discovery of nonpublic information from Apple. Apple has complained that

                 19 Samsung has failed to adequately identify a “recording circuit” or a “reproducing circuit” as called

                 20 for by the ’449 Patent. See Ex. 9 at 51-52, Apple’s Objs. And Resps. To Samsung’s 1st Set of

                 21 Interrogatories (No. #12). Samsung believes its initial infringement contentions provided

                 22 adequate notice of its theories to Apple. Nevertheless, on April 4, 2013 Apple produced

                 23 documents revealing that the accused devices include a “recording circuit” in the form of a flash

                 24 memory module and a serial interface thereto. (See, e.g., Ex. 10, iPhone 5 Bill of Materials at

                 25 APL630DEF-WH0001594169). Similarly, these documents and documents produced by third

                 26 party Cirrus Logic on April 10, 2013 indicate Apple’s devices include a “reproducing circuit” that

                 27 includes an audio codec chip. Thus, these amendments simply supplement previously disclosed

                 28 theories based on additional non-public evidence from Apple or its suppliers.

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                   1                    3.      ’449 and ’757 Doctrine of Equivalents Amendments
                   2            Samsung also seeks to add doctrine of equivalents arguments for the ’449 and ’757 Patents
                   3 based on non-public information from Apple and third parties. Regarding the ’449 Patent,

                   4 Samsung continues to pursue discovery from Omnivision and Sony to confirm the Apple devices

                   5 contain an “A/D converter” in addition to a CMOS image sensor, as opposed to an integrated A/D

                   6 converter. While Samsung believes both infringe literally, Samsung clarifies that an integrated

                   7 A/D converter certainly infringes under the doctrine of equivalents.

                   8            On April 6, Samsung’s consultant reviewed source code from Apple (excluding still-

                   9 missing source code for the Photos application) regarding the terms “classification mode,”

                 10 “classification data,” and “a plurality of classifications.” This review indicates

                 11                                                                                        To the extent
                 12 Apple argues that its devices do not disclose “classifications,” Samsung clarifies that Apple

                 13 infringes under the doctrine of equivalents.

                 14             Finally, Apple continues to withhold documents and source code regarding the design
                 15 architecture and operation of iTunes, iCloud and iTunes Match, despite the fact that these features

                 16 were identified in numerous Samsung discovery requests. Nevertheless, to the extent that Apple

                 17 argues that iTunes, iCloud and iTunes Match are not a “central storage and interface device” based

                 18 on the particular architecture of these services (e.g., the fact that more than one device is used to

                 19 operate the server), Samsung alleges that they infringe under the doctrine of equivalents.

                 20             In each case, Samsung has been diligent in seeking information necessary for amendments.

                 21 Furthermore, there is no prejudice to Apple. Each of these amendments are minor, and do not

                 22 significantly change Samsung’s theories of infringement.

                 23             C.      Samsung Should Be Permitted To Amend Its Infringement Contentions To
                                        Include Doctrine Of Equivalents Arguments On All Asserted Patents
                 24
                                Samsung seeks amendment of its infringement contentions to include doctrine of
                 25
                         equivalents arguments in order to preserve its rights in the face of Apple’s failure to disclose its
                 26
                         noninfringement theories. On September 25, 2012, Samsung served an interrogatory on Apple
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                         requesting the bases on which Apple asserts it does not infringe Samsung’s patents. Had Apple
                 28

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                   1 provided an adequate response by now, Samsung would have been in a position to analyze

                   2 Apple’s positions and develop doctrine of equivalents arguments regarding Apple’s points of

                   3 distinction. However, Apple’s sole response came on November 8, 2012, in which Apple quotes

                   4 nearly every asserted limitation verbatim, and alleges they do not meet the limitation. Ex. 6,

                   5 Apple’s Objs. And Resps. To Samsung’s 1st Set of Interrogatories (No. #12).

                   6            As shown above, Apple’s response deliberately obscures the limitations it may later rely

                   7 upon to allege noninfringement of Samsung’s patents by claiming that its products do not meet

                   8 any of the claim limitations. As a result of Apple’s gamesmanship, Samsung does not know

                   9 which limitations Apple truly believes it does not literally meet and therefore has no opportunity

                 10 to develop doctrine of equivalents arguments in response. With the issuance of the claim

                 11 construction order and with the July 13 close of fact discovery fast approaching, Samsung can no

                 12 longer afford to wait for Apple to properly present its literal noninfringement theories.

                 13 Accordingly, Samsung’s amendments set forth doctrine of equivalents positions to the extent

                 14 possible in view of Apple’s deficient interrogatory response, thereby preserving Samsung’s right

                 15 to assert specific arguments in response to Apple’s further disclosure of noninfringement

                 16 arguments. These amendments are necessary to address the prejudice against Samsung caused by

                 17 Apple’s gamesmanship.

                 18             D.      Samsung Should Be Permitted To Amend Its Infringement Contentions To
                                        Include Two Additional Samsung Practicing Products
                 19
                                Samsung also has good cause to amend its infringement contentions to identify the Galaxy
                 20
                         S III (Jelly Bean) and Galaxy Note II as products that practice or reflect Samsung’s patents.
                 21
                         Patent L.R. 3-1(g). Neither of these products were part of the lawsuit between the parties when it
                 22
                         was initiated in February 8, 2012. Instead, Apple added the Galaxy S III (Jelly Bean) and Galaxy
                 23
                         Note II to its infringement contentions on January 16, 2013.
                 24
                                The following month, on February 28, 2013, Samsung contacted Apple and requested that
                 25
                         it be allowed to amend its infringement contention to identify the newly added Galaxy S III (Jelly
                 26
                         Bean) and Galaxy Note II as products that practiced Samsung’s patents. Ex. 1. Samsung
                 27

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                   1 repeated its request on March 29, 2013. Ex. 2. Apple has not agreed to Samsung’s proposed

                   2 amendments to date.

                   3            Following the Court’s claim construction order, Samsung promptly sought leave to amend

                   4 its contentions through the present motion. Thus, Samsung was diligent in notifying and seeking

                   5 to add these potentially practicing products, despite Apple’s repeated refusal to address the

                   6 proposed amendments. See Bd. of Trs. of Leland Stanford Junior Univ. v. Roche Molecular Sys.,

                   7 2008 WL 624771, at *2 (N.D. Cal.2008) (granting leave to amend infringement contentions where

                   8 patentee put defendant on notice within one week).

                   9            Samsung should be allowed to demonstrate at trial how its patents practice these products

                 10 if Apple is allowed to claim they infringe Apple’s patents. Moreover, Apple has full discovery on

                 11 these products and therefore is not prejudiced by the addition of them to Samsung’s Patent L.R. 3-

                 12 1(g) disclosures.

                 13             E.      Samsung Should Be Permitted To Amend Its Infringement Contentions For
                                        The ’239 Patent Based On Recent Federal Circuit Law
                 14
                                Samsung asserted an indirect infringement theory for claims 1 and 7 of the ’239 Patent in
                 15
                         its original contentions submitted June 15, 2012. Subsequent to this, the Federal Circuit issued
                 16
                         Akamai Tech., Inc. v. Limelight Networks, Inc., 692 F.3d 1301 (Fed. Cir. 2012) (en banc), on
                 17
                         August 31, 2012. In Akamai, the Federal Circuit ruled that there does not need to be a single
                 18
                         direct infringer for a party to indirectly infringe. See, e.g., 692 F.3d at 1306.   Samsung’s
                 19
                         amendments simply reflect this theory and further elaborate on its allegations of indirect
                 20
                         infringement. Sam sung diligently sought these amendments and there is no prejudice to Apple.
                 21
                         Accordingly, Samsung has good cause to amend.
                 22
                         V.     CONCLUSION
                 23
                                For the foregoing reasons, Samsung respectfully requests that the Court grant Samsung’s
                 24
                         motion for leave to amend its infringement contentions.
                 25

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                   1 DATED: April 30, 2013                QUINN EMANUEL URQUHART &
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                   3

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                                                               LTD., SAMSUNG ELECTRONICS AMERICA,
                   6                                           INC., and SAMSUNG
                   7                                           TELECOMMUNICATIONS AMERICA, LLC

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